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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          A.B., by and through her next friend            CASE NO. C14-1178 MJP
            CASSIE CORDELL TRUEBLOOD, et
11          al.,                                            MINUTE ORDER

12                                 Plaintiffs,

13                  v.

14          WASHINGTON STATE
            DEPARTMENT OF SOCIAL AND
15          HEALTH SERVICES, et al.,

16                                 Defendants.

17

18          The following minute order is made by the direction of the court, the Honorable Marsha
19   J. Pechman, United States Senior District Judge:
20          The Court is aware that the Parties intended to update the Court on the implementation
21   progress of the Settlement Agreement by presenting evidence at the evidentiary hearing set for
22   last week. (See Dkt. No. 974 at 5.) Unfortunately, that hearing was canceled and will be
23   rescheduled for a later date. To ensure the Court remains informed of implementation progress,
24


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 1   the Court ORDERS the Parties to file a Quarterly Status Report concerning the Settlement

 2   Agrement by no later than April 28, 2023.

 3          The clerk is ordered to provide copies of this order to all counsel.

 4          Filed April 3, 2023.

 5
                                                    Ravi Subramanian
 6                                                  Clerk of Court

 7                                                   s/Serge Bodnarchuk
                                                     Deputy Clerk
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     MINUTE ORDER - 2
